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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA


United States of America,
                                           Plaintiff,
vs.                                                         Case No.: 22-cr-115-CVE


Donald B Pearson,                                           AMENDED SCHEDULING ORDER
Jonna Elise Steele,
Izabella Marie Boling,

                                      Defendant(s).

 At the direction of Claire V. Eagan, U.S. District Judge, upon the appearance of defendant Izabella
 Marie Boling, it is hereby ordered that:
      Motions due:                                                5/23/2022
      Responses due:                                              6/6/2022
      PT/CP/Motions Hearing:                                      6/16/2022              at 9:30 a.m.
      Voir dire, jury instructions, and trial briefs due:         7/5/2022
      Jury Trial:                                                 7/11/2022              at 9:15 a.m.




                                                        Mark C. McCartt,
                                                        Clerk of Court, United States District Court


                                                          S/C. Portilloz
                                                        By: C. Portilloz, Deputy Clerk




 Scheduling Order Amended                                                                  (CR-04a Modified 6/2020)
